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                                   UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA
------------------------------------------------------x
THADDEUS HARDY,                                       :
                                                      : CASE NO.:
                  Plaintiff,                          :
                                                      : Judge:
vs.                                                   :
                                                      :
                                                      : Magistrate:
                                                      :
GOBERT PROPERTIES, LLC,                               :
                                                      :
                  Defendant.                          :
------------------------------------------------------x

                                        COMPLAINT

       Plaintiff, THADDEUS HARDY, by and through his undersigned counsel, hereby files

this Complaint and sues GOBERT PROPERTIES, LLC, (hereinafter referred to as

“DEFENDANT”), for declaratory and injunctive relief, damages, attorneys’ fees, and costs

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq., and the Louisiana

Commission on Human Rights, LA. REV. STAT. ANN. § 51:2231 et seq., (hereafter “LCHR”); and

alleges the following:

                              JURISDICTION AND PARTIES

1.     This is an action for declaratory and injunctive relief pursuant to Title III of the

       Americans with Disabilities Act, 42 U.S.C. §12181 et seq. (hereinafter referred to as the

       “ADA”), and the Louisiana Commission on Human Rights, LA. REV. STAT. ANN. §

       51:2231 et seq., (hereafter “LCHR”).

2.     This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343,

       and supplemental jurisdiction over the related state law claims pursuant to 28 U.S.C. §

       1367, as such claims arise out of the same case or controversy as the Federal claims.


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3.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).

4.    Plaintiff, THADDEUS HARDY, (hereinafter referred to as “MR. HARDY”), is a person

      of the age of majority and a citizen of the State of Louisiana.

5.    MR. HARDY resides in Orleans Parish at 2100 Clio Street, New Orleans, Louisiana

      70113.

6.    MR. HARDY is a qualified individual with a disability under the ADA and the LCHR.

      MR. HARDY is a paraplegic due to a spinal cord injury.

7.    Due to his disability, MR. HARDY is substantially impaired in several major life

      activities and requires a wheelchair to ambulate.

8.    Upon information and belief, GOBERT PROPERTIES, LLC, a limited liability company

      domiciled in Louisiana and doing business in Orleans Parish, is the owner of the real

      properties and improvements which are the subject of this action, to wit: Club Spades

      NOLA, 633 S. Roman St., New Orleans, LA 70112 (hereinafter referred to as “the

      Property”).

9.    Upon information and belief, the Property is a restaurant, bar, and entertainment venue.

10.   Mr. HARDY has visited the Property to enjoy food, drinks, and entertainment.

11.   DEFENDANT is obligated to comply with the ADA and the LCHR.

12.   All events giving rise to this lawsuit occurred in the Eastern District of Louisiana,

      Orleans Parish, Louisiana.

                     COUNT I - VIOLATION OF TITLE III OF THE
                        AMERICANS WITH DISABILITIES ACT

13.   MR. HARDY realleges and reavers Paragraphs 1 - 12 as if they were expressly restated


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      herein.

14.   The Property is a place of public accommodation, subject to the ADA, generally located

      at: 633 S. Roman St., New Orleans, LA 70112.

15.   Upon information and belief, MR. HARDY has visited the Property and desires to visit

      the Property again in the future.

16.   Upon information and belief, MR. HARDY’S most recent visit to the Property prior to

      filing this original Complaint was on November 11, 2023 with his sister, Toya Cazenave.

17.   During this visit, MR. HARDY was unable to enter the Property without great difficulty

      and assistance from Ms. Cazenave because there is a step-up into the Property and there

      is no ramp.

18.   MR. HARDY continues to desire to visit the Property but will continue to experience

      serious difficulty due to the step-up into the Property with no ramp, which is still the

      case.

19.   MR. HARDY went by the Property in April of 2024 and desired to enter the Property but

      chose not to because he did not want to suffer the indignity of being physically carried

      into the Property.

20.   MR. HARDY lives within close geographic proximity of the Property. MR. HARDY’S

      house is less than two miles from the Property.

21.   MR. HARDY plans on returning to the Property for food, drink, and entertainment, but

      fears that he will encounter the same barriers to access which are the subject of this

      action.

22.   Upon information and belief, DEFENDANT is in violation of 42 U.S.C. § 12181 et seq.



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      and 28 C.F.R. § 36.302 et seq. and is discriminating against MR. HARDY due to, but not

      limited to, the following violations which exist at the Property:

             I.      UPON INFORMATION AND BELIEF, THE FOLLOWING BARRIERS

      ARE ALLEGED TO BE THE RESPONSIBILITY OF DEFENDANT:

                     A.      There is a step up to the Property’s entrance which precludes a

                             wheelchair from gaining entry; and

                     B.      Other mobility-related ADA barriers to be identified following a

                             complete inspection.

23.   Upon information and belief, all barriers to access and ADA violations still exist and

      have not been remedied or altered in such a way as to effectuate compliance with the

      provisions of the ADA, even though removal is readily achievable.

24.   Upon information and belief, removal of the discriminatory barriers to access located on

      the Property is readily achievable, reasonably feasible, and easily accomplished, and

      would not place an undue burden on DEFENDANT.

25.   Upon information and belief, removal of the barriers to access located on the Property

      would provide MR. HARDY with an equal opportunity to participate in, or benefit from,

      the goods, services, and accommodations which are offered to the general public at the

      Property.

26.   Independent of his intent to return as a patron to the Property, MR. HARDY additionally

      intends to return as an ADA tester to determine whether the barriers to access stated

      herein have been remedied.

27.   MR. HARDY has been obligated to retain the undersigned counsel for the filing and



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      prosecution of this action. MR. HARDY is entitled to have his reasonable attorneys’ fees,

      costs, and expenses paid by DEFENDANT, pursuant to 42 U.S.C. § 12205.

               COUNT II: VIOLATIONS OF THE LOUISIANA COMMISSION
                                ON HUMAN RIGHTS

28.   MR. HARDY repeats and realleges all preceding paragraphs in support of this claim.

29.   At all times relevant to this action, the Louisiana Commission on Human Rights, LA.

      REV. STAT. ANN. § 51:2231 et. seq., (hereafter “LCHR”) has been in full force and effect

      and has applied the conduct of DEFENDANT.

30.   At all times relevant to this action, MR. HARDY has experienced substantial limitations

      to several major life activities, including walking, and uses a wheelchair for his primary

      means of mobility; and has been an individual with a disability within the meaning of

      LCHR, LA. REV. STAT. ANN. § 51:2232(3)(a).

31.   At all times relevant to this action, DEFENDANT’S Property has qualified as a place of

      public accommodation, resort, or amusement as defined by LA. REV. STAT. ANN. §

      51:2232(9) by virtue of either supplying services to the general public, soliciting and

      accepting the patronage of the general public, or having been supported directly or

      indirectly by government funds.

32.   The LCHR prohibits discriminatory practices and provides that “it is a discriminatory

      practice for a person to deny an individual the full and equal enjoyment of goods,

      services, facilities, privileges, advantages, and accommodations of a place of public

      accommodation, resort, or amusement . . . on the grounds of . . . disability.” LA. REV.

      STAT. ANN. § 51:2247.




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33.    The LCHR extends relief to “any person deeming himself injured by” discrimination in

       violation thereof. LA. REV. STAT. ANN. § 51:2264.

34.    DEFENDANT discriminated against MR. HARDY, on the basis of disability, in violation

       of LA. REV. STAT. ANN. § 51:2247, by denying him the full and equal enjoyment of the

       goods, services, facilities, privileges, advantages, and accommodations offered at the

       Property due to many of the architectural barriers discussed in Paragraph 22 of this

       Complaint.

35.    MR. HARDY deems himself injured by DEFENDANT’S discrimination and brings suit

       under the LCHR to recover compensatory damages for the injuries and loss he sustained

       as a result of DEFENDANT’S discriminatory conduct and deliberate indifference as

       alleged herein above.

36.    MR. HARDY is further entitled to injunctive relief, as well as an award of attorneys’

       fees, costs, and disbursements pursuant to the LCHR, LA. REV. STAT. ANN. § 51:2264.

                                        PRAYER FOR RELIEF

       WHEREFORE, MR. HARDY demands judgment against DEFENDANT, and requests

the following injunctive relief, damages, and declaratory relief:

       A.      That this Court declare that the Property, owned by DEFENDANT, is in violation

               of the ADA and the LCHR;

       B.      That this Court enter an Order directing DEFENDANT to alter the Property to

               make it accessible to and useable by individuals with mobility disabilities to the

               full extent required by Title III of the ADA and the LCHR;




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C.   That this Court award damages to MR. HARDY pursuant to LA. REV. STAT. ANN.

     § 51:2264 for the discriminatory conduct of the DEFENDANT in violation of the

     LCHR;

D.   That this Court award reasonable attorneys’ fees, costs (including expert fees),

     and other expenses of suit, to MR. HARDY pursuant to the ADA and the LCHR;

     and

E.   That this Court award such other and further relief as it deems necessary, just and

     proper.



                                   Respectfully Submitted,


                                   BIZER & DEREUS, LLC
                                   Attorneys for Plaintiff

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